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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

                                     GENERAL ORDER 19 −02
                                          June 1, 2019


  STANDING PROCEDURAL ORDER RE: PUBLIC ACCESS TO IMMIGRATION CASES
        RESTRICTED BY FEDERAL RULES OF CIVIL PROCEDURE 5.2(C)

   1. The court orders that in an action or proceeding relating to an order of
removal, or to immigration benefits or detention, access to an electronic file is
authorized to the extent provided by Fed. R. Civ. P. 5.2(c) for thirty days after the
case filing. At that time, restrictions on remote access to the full electronic record
shall be removed except for redactions required pursuant Rule 5.2(a) to protect
confidential information (i.e., social security numbers).
    2. Any party who objects to the removal of the restrictions provided by Rule
5.2(c) shall file objections with the court within 14 days of the case filing. Any
response to the objection shall be filed within seven days. Restrictions will not be
lifted until the court rules on any objections.
   3. At all times, paper copies of documents restricted by Rule 5.2(c) will be
provided when requested at each courthouse subject to the condition that they shall
not be placed on the internet within the first thirty days after the case filing if there
are no objections or until the presiding judge lifts the restriction.
    4. The presiding judge may modify this standing order at any time in the interest
of justice.
    5. This order shall be served by the Clerk’s Office on all parties when the case is
filed and on each person that requests a paper record.
   So ordered.

/s/ Patti B. Saris                          /s/ Leo T. Sorokin
Patti B. Saris                              Leo T. Sorokin
Chief United States District Judge          United States District Judge

/s/ William G. Young                        /s/ Allison D. Burroughs
William G. Young                            Allison D. Burroughs
United States District Judge                United States District Judge

/s/ Nathaniel M. Gorton                     /s/ Rya W. Zobel
Nathaniel M. Gorton                         Rya W. Zobel
United States District Judge                Senior United States District Judge

___________________________                 /s/ Mark L. Wolf
Richard G. Stearns                          Mark L. Wolf
United States District Judge                Senior United States District Judge
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/s/ F. Dennis Saylor               /s/ Douglas P. Woodlock
F. Dennis Saylor                   Douglas P. Woodlock
United States District Judge       Senior United States District Judge

/s/ Denise J. Casper               /s/ Edward F. Harrington
Denise J. Casper                   Edward F. Harrington
United States District Judge       Senior United States District Judge

/s/ Timothy J. Hillman             /s/ Michael A. Ponsor
Timothy J. Hillman                 Michael A. Ponsor
United States District Judge       Senior United States District Judge

/s/ Indira Talwani                 /s/ George A. O'Toole
Indira Talwani                     George A. O'Toole
United States District Judge       Senior United States District Judge

/s/ Mark Mastroianni
Mark Mastroianni
United States District Judge
